                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE MIDDLE DISTRICT OF TENNESSEE


TOMMY GRAGG and RHONDA        )
GRAGG,                        )
                              )
      Plaintiffs,             )
                              )
vs.                           )                      Case No.____________________
                              )                      Judge_______________________
AIG CENTENNIAL INSURANCE CO., )                      Magistrate Judge_____________
AIG PRIVATE CLIENT GROUP,     )
AIU, and CHARTIS,             )
                              )
      Defendants.             )



                                   COMPLAINT


       Come now the Plaintiffs, Tommy Gragg and Rhonda Gragg, and for their cause of

action sue the Defendants AIG Centennial Insurance Co., AIG Private Client Group,

AIU, and Chartis, and state as follows:

       1.      The Plaintiffs, Tommy Gragg and Rhonda Gragg, are insureds under a

policy of homeowner's insurance, policy number AIG PCG 0002989724, issued by

Defendants herein.

       2.      Defendant has breached its contract of insurance with Plaintiffs.

       3.      Plaintiffs' damages exceed the sum of $1,000,000.

       4.      The Plaintiffs have performed all conditions precedent for payment under

the terms and conditions of the aforesaid policy of insurance.

       5.      Defendants' refusal to pay under the contract of insurance is in bad faith,

and violates T.C.A. §56-7-105.




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       6.       Defendants’ acts and practices, set forth above, violate the provisions of

the Tennessee Consumer Protection Act, T.C.A. §47-18-104(b)(12) and (27), and the use

or employment by the Defendants of said unfair and deceptive acts and practices

constitute willful or knowing violations under T.C.A. §47-18-109(a)(1)(3).

       7.       There is now and was at all times mentioned herein, complete diversity of

citizenship between the Plaintiffs and Defendants. The matter in controversy exceeds the

sum of Seventy Five Thousand Dollars ($75,000.00), exclusive of costs, interest and

disbursements; therefore, this Court has jurisdiction by virtue of the provisions of 28

U.S.C. §1332.

       Wherefore, Plaintiffs demand:

       1.       Judgment against the Defendants, and each of them for compensatory

damages in excess of the sum of $1,000,000.

       2.       That the Plaintiffs be awarded judgment for the Defendants’ bad faith

refusal to pay the Plaintiffs’ claim, not exceeding twenty-five (25%) of the past due

benefits and premiums paid pursuant to T.C.A. §56-7-105.

       4.       That the Plaintiffs be awarded judgment in treble damages for violation of

the Tennessee Consumer Protection Act T.C.A. §47-18-109(a)(1)(3).

       5.       Such other relief as the Court may deem proper.

       6.       Trial by jury.




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   This December 11, 2009.




                                 ______ __________________________
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